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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )           2:12cr48-MHT
                                   )               (WO)
MICHAEL SMITH                      )

                                ORDER

    By agreement of the parties made on the record on

June 6, 2013, it is ORDERED that the motions to inspect

(doc. nos. 287 and 305) are left for resolution after the

jury verdict.

    DONE, this the 11th day of June, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
